           Case 22-10609-amc                           Doc 51          Filed 04/08/22 Entered 04/08/22 16:46:50                              Desc Main
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                                                                  United States Bankruptcy Court
                                                                       Eastern District of Pennsylvania
   In re     Scungio Borst & Associates, LLC________ _____ ____________________                                        Case No.     22-i0609(AjVIC)-------------


                                                            LIST OF EQUITY SECURITY HOLDERS
Bojlp^ipg is & ®iof                                                                     m^Wcordance


 Name and last known address or place of                                Security Glass Number of Securities                   Kind of Interest
 ^tmsin^S ofh61|br ■ -. •                                                                     - ■-■ ■   iv-b ■ ; ■ i- b J:-                - i-j ■

 Philip L. Borst ■                                                                                                                50%
 641 Pugh Road
 Wayne, PA 19087

 Scungio & Company, LLC                                                                                                           50%
 cZo Scott P, Scungio
 117 Moore Drive
 Media, PA 19063


DEGLARATIGN UNDER PENALTY OF PERJURY ON BEHAIE OF CORPORATION OR PARTNERSHIP

         I, the Managing Member of Scungio & Company, LLC, Member of the corporation named as the debtor in this case,
declare under penalty of perjury that I have read the foregoing Inst of Equity Security Holders and that it is true and :
correct to the best of my information and belief



  Date                                                                          Signature


                        Panaltyfar mdTdng afalse staietnent cfcodcealtngproperlyrPssxaf'af la $500,000 or imprisomnent for up to 5 years ortwfo;




Sheet 1 of 1 in List of Equity Security Holders
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